









DISMISSAL FORM FOR CRIMINAL CASES ON ANT'S MOTION/OR WD NOA         









&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; NO. 12-06-00028-CR

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

TWELFTH COURT OF APPEALS
DISTRICT

&nbsp;

TYLER, TEXAS

&nbsp;

&nbsp;

MACK DWAYNE MILLER,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; APPEAL
FROM THE 7TH

APPELLANT

&nbsp;

V.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; JUDICIAL DISTRICT COURT OF

&nbsp;

THE STATE OF TEXAS,

APPELLEE&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; SMITH COUNTY, TEXAS

&nbsp;




 
  
  
 
 
  
  
 
 
  
 
 
  
  
 


&nbsp;

&nbsp;



MEMORANDUM
OPINION

PER CURIAM

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant has filed a motion to
dismiss this appeal.&nbsp; The motion is
signed by Appellant and his counsel.&nbsp; No
decision having been delivered by this Court, the motion is granted, and the
appeal is dismissed in accordance with Texas Rule of Appellate Procedure 42.2.

Opinion delivered July 5, 2006.

Panel consisted of Worthen, C.J. and Griffith, J.

&nbsp;

&nbsp;

&nbsp;

(DO
NOT PUBLISH)





